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eb) Sprint > 6:04 PM 64% @_)

  

Kevin >

a friend of Kalvin sending
in his letter for court
tmm.

To whom it may concern

My name is Dexter
Thompson lama
professional basketball
player & lam also a CEO
of a music label. | met
Kalvin through the music
industry working with
him on a lot of music
aspects. Kalvin is an
inspirational person to
his community ina
positive wav. He is a role

 

 

 

 

 
Case 1:20-mj-06383-MPK Document 48 Filed 06/30/20 Page 2 of 3
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Kevin >

SE ee ey Oe re a

model for the youth who
have a dream of being
something in the future.
Especially with him being
a artist. A portion of his
music funds always go to
back into his community
for give positive outlets
to a lot of organizations &
programs in his area. The
best way to describe
Kalvin is a very
motivational hard
working & determined
character. He uses all his
tough times that he has
went through as ways to
build him self up & add
fuel to his f

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To Whom it May Concern,

This is Arondae Washington, a good friend of Kalvin Barros and I've met

him through mutual connections I’ve built within the music industry. Mr.

Barros has been an outstanding member of the community for the past 3

years. As someone who worked alongside of him, | have seen nothing but

examples of integrity through his talents that fueled for inspiration to the entire youth of New
England. He uses his platform to uplift artists and creates a sense of hope for those who he
touched with his poetry. The community, especially children, admire and respect Mr.Barros
persona. He demonstrates honor by donating a percentage of his funds generated from music
back into his community. His reliability made him very dependable and | knew if | needed advice
or help with anything, | can count on him.

 

Best regards,

Arondae Washington
ADMINISTRATOR, Applying Pressure Forever LLC

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